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                  IN THE UNITED STATES DISTRICT COURT FOR
                 THE EASTERN DISTRICT OF PENNSYLVANIA
_______________________________________
LARRY JENKINS                           :
                                        :   CIVIL ACTION COMPLAINT NO.
               Plaintiff,               :
                                        :   JURY TRIAL OF TWELEVE (12)
                                        :   JURORS DEMANDED
      v.                                :
                                        :
TRANS UNION LLC                         :
                                        :
And                                     :
                                        :
EQUIFAX INFORMATION SERVIVCES :
LLC                                     :
                                        :
And                                     :
                                        :
BANK OF AMERICA, N.A.                     :
                                        :
And                                     :
                                        :
SOUTHEAST FINANICAL CREDIT              :
UNION                                   :
                                        :
            Defendants.                 :
_______________________________________

                                         COMPLAINT

   NOW comes the Plaintiff, Larry Jenkins (hereinafter the “Plaintiff”), through their Counsel of

record to make their allegations known against the Defendants by and through their complaint that

alleges the following:

                                 PRELIMINARY STATEMENT

   1.      This is an action for actual, statutory, and punitive damages, costs, and attorney’s fees

pursuant to 15 U.S.C. §1681 et seq. (Fair Credit Reporting Act).

                                  JURISDICTION AND VENUE

   2.      Jurisdiction of this Court is conferred by 15 U.S.C. §1681(p) and 28 U.S.C. §1331.

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    3.       Venue in this District is appropriate under 28 U.S.C. §1391(b)(2) because a substantial

part of the events giving rise to the claim occurred in this district.

    4.       Defendant, Trans Union is a citizen and resident of the Eastern District of Pennsylvania;

and, as to said Defendant, a substantial part of the events or omissions giving rise to the claim here

occurred. Furthermore, Trans Union’s headquarters is located in the Eastern District of

Pennsylvania.

    5.       All defendants conduct regular, continuous, systematic and substantial business in the

Eastern District.

    6.       Upon information and belief, all Defendants conduct regular and substantial “e-

commerce,” and, likewise, Defendants’ related books, records, data and documents are believed

maintained electronically (with nationwide accessibility-including within the Eastern District).

    7.       Co-Defendant, Trans Union regularly furnish consumer reports to third-parties; some

of whom may (subject to discovery) be citizens, residents, and/or witnesses located within the

Eastern District.

                                                PARTIES

    8.       Plaintiff is a natural person and a “consumer” as that term is defined by 15 U.S.C.

§1681a(c).

    9.       Defendant, Trans Union, LLC, is a For-Profit Limited Liability Company registered to

do business in Pennsylvania and with a registered agent in Pennsylvania. Defendant is a “consumer

reporting agency,” as defined by 15 U.S.C. § 1681a(f), and is engaged in the business of

assembling, evaluating, and disbursing information concerning consumers for the purpose of

furnishing consumer reports, as defined by 15 U.S.C. § 1681a(d), to third parties. Trans Union’s

consumer dispute center is located in the Eastern District of Pennsylvania.



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   10.     Defendant, Equifax Information Services, LLC, (hereinafter Equifax) is a For-Profit

Limited Liability Company registered to do business in Pennsylvania and with a registered agent

in Pennsylvania. Defendant is a “consumer reporting agency,” as defined by 15 U.S.C. § 1681a(f)

and engaged in the business of assembling, evaluating, and disbursing information concerning

consumers for the purpose of furnishing consumer reports, as defined by 15 U.S.C. § 1681a(d) to

third parties. Based on information and belief, Equifax is reporting consumer credit files on over

two million consumers in Pennsylvania.

   11.     Defendant, Bank of America, N.A., (hereinafter, BOA) is a Foreign for-profit company

registered to do business in Pennsylvania and with a registered agent in Pennsylvania. Defendant

is a “furnisher” of information, as defined by 15 U.S.C §1681s(a)&(b), who regularly and in the

ordinary course of business furnishes credit information to one or more consumer reporting

agencies about consumer transactions. BOA is a financial institution actively conducting business

in Pennsylvania.

   12.     Defendant, Southeast Financial Credit Union, (hereinafter, SEFCU) is a Foreign for-

profit company registered to do business in Pennsylvania and with a registered agent in

Pennsylvania. Defendant is a “furnisher” of information, as defined by 15 U.S.C §1681s(a)&(b),

who regularly and in the ordinary course of business furnishes credit information to one or more

consumer reporting agencies about consumer transactions. Southeast Financial CU is a financial

institution actively conducting business in Pennsylvania.

                                   FACTUAL ALLEGATIONS

   13.     Plaintiff incorporates by reference all the foregoing paragraphs as though the same

were set forth at length herein.




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    14.     BOA and Trans Union reported inaccurate credit information on Plaintiff’s credit

reports.

    15.     SEFCU and Trans Union reported inaccurate credit information on Plaintiff’s credit

reports.

    16.     SEFCU and Equifax reported inaccurate credit information on Plaintiff’s credit reports.

                         As to Trans Union and BOA’s Credit Reporting

    17.     Plaintiff’s BOA Account # 22892**** was paid in full on or about 02/29/2016 which

brought it current with a $0 balance.

    18.     The debt with BOA arose from a mortgage. The account was closed on the same day it

was paid in full, on 02/29/2016. The last day the account was updated on 02/29/2016, the same

day the account was paid in full.

    19.     Well after the account was paid in full, BOA and Trans Union continued the account

with a “Pay Status: Account 120 Days Past Due Date”.

    20.     It is impossible and incorrect for an account that was fully paid off which brought it

current with a “0” balance to still be reporting as past due. Not only is the BOA account false on

the face of the credit report but this reporting is extremely misleading because it makes it look like

the Plaintiff is still late on this account that was previously paid in full.

    21.     In addition to reporting the inaccurate pay status, but the payment history grid fails to

credit Plaintiff’s last and final payment that paid off the account in full. On 02/29/2016, the last

and final payment that paid off the account was made, but the payment history grid stops on 1/2016

and reports “120”, which is translated to 120 days past the due date. The payment history grid

should have updated to report the last and final payment made and reported 02/2016 as “OK”

which is current.



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   22.     The account’s “pay status” should have been updated to “Account Paid/Zero Balance”.

   23.     Nowhere on the account’s trade-line does it report that the account is paid in full.

   24.     As required by the Fair Credit Reporting Act, Plaintiff mailed a detailed and thorough

dispute letter to Trans Union. On information and belief, after receiving Plaintiff’s dispute, Trans

Union notified BOA of the dispute. As a result of Plaintiff’s dispute, BOA verified the account as

accurate and instructed Trans Union to continue to report the inaccurate credit information Trans

Union continued to report the inaccurate credit information at the instructions of BOA

                      As to Trans Union and SEFCU’s Credit Reporting

   25.     SEFCU Account # 46409**** was paid in full on or about 05/12/2014 which brought

it current with a $0 balance.

   26.     The debt with SEFCU arose from an auto loan. The account was closed on the same

day it was paid in full on 05/12/2014. The last day that the account was updated was on 05/12/2014,

the same day the account was paid in full.

   27.     Even though Plaintiff did not have any financial obligation to SEFCU because the

account was paid in full and closed, SEFCU and Trans Union continued to report that Plaintiff still

had a required financial obligation to pay SEFCU $652.00 per month. In addition to reporting that

he still owed them $652.00 per month, but they also inaccurately reported the “pay status” of the

account as currently “30 days past due date” on the monthly payment requirement of $652.00.

None of which is accurate.

   28.     Well after the account was paid in full, SEFCU and Trans Union continued to report

the account with a “Pay Status: Account 30 Days Past Due Date” as well as a continued monthly

financial obligation of $652.00 per month.




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    29.     It is impossible and incorrect for a closed account that was fully paid off which brought

it current with a “0” balance to still be reporting that he is currently 30 days past due on a required

monthly payment obligation, that is not even owed. Not only is the SEFCU account false on the

face of the credit report but this reporting is extremely misleading because it makes it look like the

Plaintiff is still late on this account that was previously paid in full.

    30.     The account’s “pay status” should have been updated to “Account Paid/Zero Balance”

and the “Terms” should have been updated to “$0”.

    31.     Nowhere on the account’s trade-line does it report that the account is paid in full.

    32.     As required by the Fair Credit Reporting Act, Plaintiff mailed a detailed and thorough

dispute letter to Trans Union. On information and belief, after receiving Plaintiff’s dispute, Trans

Union notified SEFCU of the dispute. As a result of Plaintiff’s dispute, SEFCU verified the

account as accurate and instructed Trans Union to continue to report the inaccurate credit

information. Trans Union continued to report the inaccurate credit information at the instructions

of SEFCU.

                           As to Equifax and SEFCU Credit Reporting

    33.     SEFCU Account # 46409**** was paid in full on or about 05/12/2014 which brought

it current with a $0 balance

    34.     The debt with SEFCU arose from an auto loan. The account was closed on the same

day it was paid in full on 05/12/2014.

    35.     Well after the account was paid in full, SEFCU and Equifax continued to report the

account with an “Account Status: Not More than Two Payments Past Due” (translated to 60 days

past due) as well as a continued monthly financial obligation of $652.00 per month.




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    36.     Even though Plaintiff did not have any financial obligation to SEFCU because the

account was paid in full and closed, SEFCU and Equifax continued to report that Plaintiff still had

a required financial obligation to pay SEFCU $652.00 per month. In addition to reporting that he

still owed them $652.00 per month, but they also inaccurately reported the “account status” of the

account as currently past due on the monthly payment requirement of $652.00. None of which is

accurate.

    37.     It is impossible and incorrect for a closed account that was fully paid off which brought

it current with a “0” balance to still be reporting that he is currently past due on a required monthly

payment obligation, that is not even owed. Not only is the SEFCU account false on the face of the

credit report but this reporting is extremely misleading because it makes it look like the Plaintiff

is still late on this account that was previously paid in full.

    38.     The account’s “status” should have been updated to “Account Paid/Zero Balance” and

the “Scheduled Payment Amount” should have been updated to “$0”.

    39.     As required by the Fair Credit Reporting Act, Plaintiff mailed a detailed and thorough

dispute letter to Equifax. On information and belief, after receiving Plaintiff’s dispute, Equifax

notified SEFCU of the dispute. As a result of Plaintiff’s dispute, SEFCU verified the account as

accurate and instructed Equifax to continue to report the inaccurate credit information. Equifax

continued to report the inaccurate credit information at the instructions of SEFCU.

                                         As to all Defendants

    40.     The “pay status”/“account status” is a significant data field that represents the current

condition of the accounts. The data field works independently of the other data fields in the

reporting tradeline and is critical in maintaining accurate reporting. At the time that the accounts

were paid and closed, the accounts should have reported with a “Pay Status”/”Account Status”



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data field showing that the accounts were paid. Instead, the accounts are inaccurately reporting as

currently past due. Recent delinquencies are more damaging than older delinquencies because they

are weighted heavier in determining credit scores. Because the “pay status”/“account status” acts

independently from the other information, the inaccurate reporting as if the Plaintiff is currently

late on payments, even if those late payments are $0. Listing a debt with a $0 balance owed as past

due is nonsensical. If no balance is owed, the consumer cannot be late paying the balance. By

continuing to report the accounts as past due, lenders believe that the consumer is currently late,

which negatively reflects on consumers’ credit repayment history, their financial responsibility as

a debtor, and their credit worthiness/reputation.

   41.     The computer algorithms used by the lending industry to determine a consumer’s credit

worthiness will misinterpret the status of Plaintiff’s BOA and SEFCU accounts as reported by

Trans Union, Equifax, BOA and SEFCU to be current past due obligations, thus negatively

affecting Plaintiff’s credit worthiness.

   42.     Trans Union did not follow reasonable procedures to assure maximum possible

accuracy and has been reporting false and inaccurate information even after they knew or should

have known the information was incorrect.

   43.     Trans Union did not provide a good faith investigation into the disputed BOA and

SEFCU accounts.

   44.     Equifax did not provide a good faith investigation into the disputed SEFCU.

   45.     Equifax did not follow reasonable procedures to assure maximum possible accuracy

and has been reporting false and inaccurate information even after they knew or should have

known the information was incorrect.

   46.     BOA did not provide a good faith investigation into the disputed account of the Plaintiff.



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    47.      SEFCU did not provide a good faith investigation into the disputed account of the

Plaintiff.

    48.      Trans Union and Equifax have a statutory duty to have reasonable procedures to assure

maximum accuracy. Their procedures regarding this reporting are not assuring accuracy, much

less maximum accuracy.

                                        CAUSES OF ACTION

    49.      Plaintiff incorporates by reference the foregoing paragraphs and footnotes as though

the same were set forth at length herein.

    50.      This suit is based upon the Defendants violations of the Fair Credit Reporting Act. All

causes of action were the producing causes of damages which Plaintiff has suffered.


             COUNT I-VIOLATION OF THE FAIR CREDIT REPORTING ACT

    51.      Plaintiff incorporates by reference the foregoing paragraphs and as though the same

were set forth at length herein.

    52.      This suit is brought against all Defendants as the damages made the basis of this suit

were caused by their violations of the FCRA. In all instances of violating the FCRA, Defendants

did so willfully and/or negligently. Under, 15 U.S.C. §1681n and §1681o, the Plaintiff is entitled

to recover actual damages, punitive damages, and reasonable attorneys’ fees.

15 U.S.C. §1681n, “Civil Liability for willful noncompliance” reads:

                (a) Any person who willfully fails to comply with any requirement
                imposed under this title with respect to any consumer is liable to that
                consumer in an amount equal to the sum of
                (1) any actual damages sustained by the consumer as a result of the
                failure or damages of not less than $100 and not more than $1000
                (2) such amount of punitive damages as the court may allow; and
                (3) in the case of any successful action to enforce any liability under
                this section, the costs of the action together with reasonable
                attorneys fees as determined by the court.

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   And, 15 U.S.C. §1681o, “Civil Liability for negligent noncompliance” reads:

               (a) Any person who is negligent in failing to comply with any
               requirement imposed under this title with respect to any consumer
               is liable to that consumer in an amount equal to the sum of:

               (1) any actual damages sustained by the consumer as a result of the
               failure; and
               (2) in the case of any successful action to enforce any liability under
               this section, the costs of the action with reasonable attorney’s fees
               as determined by the court.

                                  Trans Union’s FCRA Violations

   53.      Trans Union violated their duty under 15 U.S.C. §1681i(a)(1)(A) to conduct a good

faith investigation into Plaintiff’s notice of dispute. Plaintiff requested Trans Union to reinvestigate

the inaccurate reporting of their accounts via detailed and thorough dispute letter.

   54.      The dispute was detailed, thorough and informed Trans Union of all the relevant

information regarding the inaccuracies of the accounts and provided enough information to show

the accounts were being reported inaccurately.

   55.      Trans Union did not conduct a good faith and reasonable investigation into Plaintiff’s

dispute.

   56.      These accounts were paid off in full, and Trans Union is currently reporting Plaintiff’s

accounts with a “$0” balance but currently past due. It is impossible for Plaintiff to make “$0”

payments to bring the accounts current. With this type of reporting, Plaintiff will never be able to

bring the accounts current.

   57.      Trans Union was notified and made aware of the specific issues from the dispute letter.

It should have been easy for Trans Union to determine that the accounts were extremely inaccurate

with the information that was provided.



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   58.     The fact that Trans Union is currently reporting inaccurate information on Plaintiff’s

credit profiles/credit reports, which are viewable and have been viewed by third parties, is proof

that Trans Union did not conduct a reasonable investigation. If Trans Union would have properly

investigated the issues, they would have determined that the accounts were paid off, with a “$0”

balance and still reporting as if Plaintiff is currently late and past due. If Trans Union had

conducted this proper investigation, they would have corrected or deleted the Plaintiff’s accounts

that are inaccurate and misleading.

     The section entitled “Procedure in case of disputed accuracy” under 15 U.S.C.

§1681i(a)(1)(a) reads:

           (a) Reinvestigations in case disputed information

           (1) Reinvestigation required

                  (A) In general-- Subject to subjection (f), if the completeness or accuracy of
                  any item of information contained in a consumer's file at a consumer reporting
                  agency is disputed by the consumer and the consumer notifies the agency
                  directly, or indirectly through a reseller, of such dispute, the agency shall, free
                  of charge, conduct a reasonable reinvestigation to determine whether the
                  disputed information is inaccurate and record the current status of the disputed
                  information, or delete the item from the file in accordance with paragraph (5),
                  before the end of the 30 day period beginning on the date on which the agency
                  receives the notice of the dispute from the consumer or reseller.
   And:

   15 U.S.C. §1681i(a)(5) reads:

               (5) Treatment of Inaccurate or Unverifiable Information

               (A)In general. If, after any reinvestigation under paragraph (1) of
               any information disputed by a consumer, an item of the information
               is found to be inaccurate or incomplete or cannot be verified, the
               consumer reporting agency shall-

                         (i)   promptly delete that item of information from the file
                               of the consumer, or modify that item of information,
                               as appropriate, based on the results of the
                               reinvestigation; and

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                        (ii)   promptly notify the furnisher of that information that
                               the information has been modified or deleted from
                               the file of the consumer

    59.         Trans Union is currently violating 15 U.S.C. §1681e(b), by not following

reasonable procedures to assure maximum possible accuracy.

   60.      Plaintiff’s accounts were paid in full, but Trans Union continued to report the accounts

with a late/past due status. If Trans Union had reasonable procedures, they would not allow

accounts to report as though the accounts are currently past due, with a “$0” balance, after the

accounts were paid off and brought current. Trans Union should be reporting the accounts as “paid”

and not “past due.” Trans Union should not allow an account to report a required monthly payment

obligation on an account with a $0 balance. These accounts are reporting as though the Plaintiff

is currently past due each month. With this type of reporting, Plaintiff will never be able to make

their accounts current. Trans Union lacks the procedures to avoid such faulty reporting. Trans

Union knows that these accounts were paid, however, they continue to report a current status as

past due.

    15 U.S.C. §1681e(b) reads as follows:

                  (a) Accuracy of the Report

                 Whenever a consumer reporting agency prepares a consumer
                 report it shall follow reasonable procedures as assure maximum
                 possible Accuracy of the information concerning the individual
                 about whom the report relates.

         61. Trans Union has been on notice that reporting an account with a $0 balance and a late

status is not accurate. Trans Union was a co-defendant in Macik v. JPMorgan Chase Bank, N. A.,

et al.: U.S. District Court for the Southern District of Texas, Galveston Division (Case 3:14-cv-

44). Plaintiff’s Counsel filed suit against Transunion, Equifax and JPMorgan Chase bank in



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Galveston, Texas, alleging that they were reporting her pay status as 90 days past due, with a zero

($) balance, even though the account was paid off five years earlier. Macik lost a home loan

because the program that is used in determining eligibility specifically stated that her Chase

account was late two or more times in the last twelve months, even though the loan it was referring

to was paid in full five (5) years earlier.

       62.     The Macik jury determined that reporting an account with a $0 balance, and a

current late pay status, is not only inaccurate, but a willful violation of the FCRA. Trans Union

knows this because they were a co-defendant and had counsel present when the jury verdict was

rendered as well as receiving an ECF copy of the ruling.

                                    Equifax’s FCRA Violations

       63. Equifax violated their duty under 15 U.S.C. §1681i(a)(1)(A) to conduct a good faith

investigation into Plaintiff’s notice of dispute. Plaintiff requested Equifax to reinvestigate the

inaccurate reporting of their account via detailed and thorough dispute letter.

       64. The dispute was detailed, thorough and informed Equifax of all the relevant

information regarding the inaccuracies of the account and provided enough information to show

the account was being reported inaccurately.

       65. Equifax did not conduct a good faith and reasonable investigation into Plaintiff’s

dispute.

   66. This account was paid off in full, and Equifax is currently reporting Plaintiff’s account

with a “$0” balance but currently past due. It is impossible for Plaintiff to make “$0” payments to

bring the account current. With this type of reporting, Plaintiff will never be able to bring the

account current.




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   67.     Equifax was notified and made aware of the specific issues from the dispute letter. It

should have been easy for Equifax to determine that the account was extremely inaccurate with

the information that was provided.

   68.    The fact that Equifax is currently reporting inaccurate information on Plaintiff’s credit

profiles/credit reports, which are viewable and have been viewed by third parties, is proof that

Equifax did not conduct a reasonable investigation. If Equifax would have properly investigated

the issues, they would have determined that the account was paid off, with a “$0” balance and still

reporting as if Plaintiff is currently late and past due. If Equifax had conducted this proper

investigation, they would have corrected or deleted the Plaintiff’s account that is inaccurate and

misleading.

     The section entitled “Procedure in case of disputed accuracy” under 15 U.S.C.

§1681i(a)(1)(a) reads:

           (a) Reinvestigations in case disputed information

              (1) Reinvestigation required

                     (A) In general-- Subject to subjection (f), if the completeness or accuracy of
                     any item of information contained in a consumer's file at a consumer reporting
                     agency is disputed by the consumer and the consumer notifies the agency
                     directly, or indirectly through a reseller, of such dispute, the agency shall, free
                     of charge, conduct a reasonable reinvestigation to determine whether the
                     disputed information is inaccurate and record the current status of the disputed
                     information, or delete the item from the file in accordance with paragraph (5),
                     before the end of the 30 day period beginning on the date on which the agency
                     receives the notice of the dispute from the consumer or reseller.
   And:

   16 U.S.C. §1681i(a)(5) reads:

                 (5) Treatment of Inaccurate or Unverifiable Information

                 (A)In general. If, after any reinvestigation under paragraph (1) of
                 any information disputed by a consumer, an item of the information



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                is found to be inaccurate or incomplete or cannot be verified, the
                consumer reporting agency shall-

                         (iii)   promptly delete that item of information from the file
                                 of the consumer, or modify that item of information,
                                 as appropriate, based on the results of the
                                 reinvestigation; and

                         (iv)    promptly notify the furnisher of that information that
                                 the information has been modified or deleted from
                                 the file of the consumer

    69.         Equifax is currently violating 15 U.S.C. §1681e(b), by not following reasonable

procedures to assure maximum possible accuracy.

   70.      Plaintiff’s account was paid in full, but Equifax continued to report the account with a

late/past due status. If Equifax had reasonable procedures, they would not allow an account to

report as though the account is currently past due, with a “$0” balance, after the account was paid

off and brought current. Equifax should be reporting the account as “paid” and not “past due.”

Equifax should not allow an account to report a required monthly payment obligation on an

account with a $0 balance This account is reporting as though the Plaintiff is currently past due

each month. With this type of reporting, Plaintiff will never be able to make their account current.

Equifax lacks the procedures to avoid such faulty reporting. Equifax knows that this account was

paid, however, they continue to report a current status as past due.

    15 U.S.C. §1681e(b) reads as follows:

                  (b) Accuracy of the Report

                 Whenever a consumer reporting agency prepares a consumer
                 report it shall follow reasonable procedures as assure maximum
                 possible Accuracy of the information concerning the individual
                 about whom the report relates.

         71. Equifax has been on notice that reporting an account with a $0 balance and a late status

is not accurate. Equifax was a co-defendant in Macik v. JPMorgan Chase Bank, N. A., et al.: U.S.

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District Court for the Southern District of Texas, Galveston Division (Case 3:14-cv-44).

Plaintiff’s Counsel filed suit against Transunion, Equifax and JPMorgan Chase bank in

Galveston, Texas, alleging that they were reporting her pay status as 90 days past due, with a zero

($) balance, even though the account was paid off five years earlier. Macik lost a home loan

because the program that is used in determining eligibility specifically stated that her Chase

account was late two or more times in the last twelve months, even though the loan it was referring

to was paid in full five (5) years earlier.

       72.     The Macik jury determined that reporting an account with a $0 balance, and a

current late pay status, is not only inaccurate, but a willful violation of the FCRA. Equifax knows

this because they were a co-defendant and receiving an ECF copy of the ruling.

                                      BOA’s FCRA Violations

         73. Defendant, BOA violated its duty under 15 U.S.C. §1681s-2(b) to conduct a

 reasonable and good faith investigation into Plaintiff’s notice through a dispute letter and failing

 to delete or correct the inaccurate information. After receiving a dispute notice from Trans

 Union, Defendant, BOA, did not conduct a complete, accurate or reasonable investigation into

 the disputed issue. BOA verified the inaccurate information that was disputed from a detailed

 and thorough dispute letter. BOA should have discovered that the information they are providing

 the Credit Reporting Agencies was not accurate. BOA knew of their current faulty reporting

 because Plaintiff’s account was fully satisfied with a $0 balance. Had Defendant, BOA properly

 investigated Plaintiff’s dispute, they would have corrected the reporting to a paid status. It is

 impossible for Plaintiff to make “$0” payments to bring their account current. BOA was made

 fully aware of the inaccurate reporting and failed to correct or delete the account.

The section entitled “Duty of Furnishers of Information Upon Notice of Dispute” under


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       15 U.S.C. §1681s-2(b) reads:

       (1) After receiving notice pursuant to section 1681i(a)(2) of this title of a dispute
           with regard to the completeness or accuracy of any information provided by a person
           to a consumer reporting agency, the person shall

               (A) conduct an investigation with respect to the disputed information:

               (B) review all relevant information provided by the consumer reporting
                   agency pursuant to section 1681i(a)(2) of this title;

               (C) report the results of the investigation to the consumer reporting
                   agency;

               (D) if the investigation finds that the information is incomplete or
                   inaccurate, report those results to all other consumer reporting
                   agencies to which the person furnished the information and that compile and
                   maintain files on consumers on a nationwide basis.

               (E) if an item of information disputed by a consumer is found to be
                   inaccurate or incomplete or cannot be verified after any reinvestigation under
                   paragraph (1), for purposes of reporting to a consumer reporting agency only,
                   as appropriate based on the results of the reinvestigation promptly
                                (i)    modify that item of information
                                (ii)   delete that item of information
                                (iii) permanently block the reporting of that item of
                                       information

                                    SEFCU’s FCRA Violations

   74. Defendant, SEFCU violated its duty under 15 U.S.C. §1681s-2(b) to conduct

a reasonable and good faith investigation into Plaintiff’s notice through a dispute letter and failing

to delete or correct the inaccurate information. After receiving a dispute notice from Trans Union

and Equifax, Defendant, SEFCU, did not conduct a complete, accurate or reasonable investigation

into the disputed issue. SEFCU verified the inaccurate information that was disputed from a

detailed and thorough dispute letter. SEFCU should have discovered that the information they are

providing the Credit Reporting Agencies was not accurate. SEFCU knew of their current faulty

reporting because Plaintiff’s account was fully satisfied with a $0 balance. Had Defendant, SEFCU


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properly investigated Plaintiff’s dispute, they would have corrected the reporting to a paid status.

It is impossible for Plaintiff to make “$0” payments to bring their account current. SEFCU was

made fully aware of the inaccurate reporting and failed to correct or delete the account.

The section entitled “Duty of Furnishers of Information Upon Notice of Dispute” under

        15 U.S.C. §1681s-2(b) reads:

        (2) After receiving notice pursuant to section 1681i(a)(2) of this title of a dispute
            with regard to the completeness or accuracy of any information provided by a person
            to a consumer reporting agency, the person shall

                (A) conduct an investigation with respect to the disputed information:

                (B) review all relevant information provided by the consumer reporting
                    agency pursuant to section 1681i(a)(2) of this title;

                (C) report the results of the investigation to the consumer reporting
                    agency;

                (F) if the investigation finds that the information is incomplete or
                    inaccurate, report those results to all other consumer reporting
                    agencies to which the person furnished the information and that compile and
                    maintain files on consumers on a nationwide basis.

                (G) if an item of information disputed by a consumer is found to be
                    inaccurate or incomplete or cannot be verified after any reinvestigation under
                    paragraph (1), for purposes of reporting to a consumer reporting agency only,
                    as appropriate based on the results of the reinvestigation promptly
                                 (i)    modify that item of information
                                 (ii)   delete that item of information
                                 (iii) permanently block the reporting of that item of
                                        information

    75. Plaintiff has suffered actual harm due to Trans Union and Equifax still reporting the

negative tradeline provided by BOA and SEFU on Plaintiff’s Trans Union and Equifax reports

even though Trans Union and Equifax were put on notice of the inaccurate negative reporting

through Plaintiff’s dispute letters.




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    76. The reporting of this credit information on Plaintiff’s credit report negatively reflects upon

the Plaintiff, his credit repayment history, his financial responsibility as a debtor and his credit

worthiness. This information was furnished by BOA and SEFCU and reported by Trans Union and

Equifax, misrepresenting the payment rating and/or status of Plaintiff’s accounts, and is currently

being reported and reflected upon Plaintiff’s credit report, resulting in lowering Plaintiff’s credit

score and furthering and increasing Plaintiff’s damages. Including but not limited to Plaintiff being

denied credit and required to pay higher interest rates on loans that were granted.

    77. Plaintiff’s credit reports, credit information and file formulated by Trans Union and

Equifax have been viewed by current and potential credit grantors and extenders of credit, as

indicated by inquiries on each of their credit reports. The inaccurate information furnished by BOA

and SEFCU and reported by Trans Union and Equifax is continuing to damage the Plaintiff’s credit

rating as well as their credit reputation.

    78. As a result of Defendants, Trans Union, Equifax, BOA and SEFCU’s conduct, Plaintiff has

suffered great physical, emotional and mental pain and anguish, all to Plaintiff’s great detriment

and loss.

    79. As a result of Defendants’ conduct, Plaintiff has suffered actual damages all to Plaintiff’s

great detriment and loss.

    80. At all times pertinent hereto, Defendants were acting by and through their agents, servants,

and/or employees who were acting within the course and scope of their agency or employment,

and under the direct supervision and control of Defendants herein.

    81. The conduct of Defendants was the direct and proximate cause, as well as, a substantial

factor in bringing about the serious injuries, damages and harm to Plaintiff that are outlined above




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and, as a result, Defendants are liable to compensate Plaintiff for the full amount of actual,

statutory, compensatory and punitive damages, as well as, such other relief, permitted by law.

                                     PRAYER FOR RELIEF

   WHEREFORE, Plaintiff seeks judgment in Plaintiff’s favor against Defendants based on the

following requested relief:

   a. Actual and compensatory damages pursuant to 15 U.S.C. §1681;

   b. Statutory damages pursuant to 15 U.S.C. §1681;

   c. Punitive damages pursuant to 15 U.S.C. §1681;

   d. Costs and reasonable attorney’s fees pursuant to 15 U.S.C. §1681n, §1681o; and

   e. Such other and further relief as may be necessary, just and proper.


  Respectfully submitted,
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